CaSe 1-17-46613-nh| DOC 37 Filed 03/02/18 Entered 03/02/18 11253200

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

x
In re: : Chapter 11
BRACHA CAB CORP-, et Gl~, : Case No. 1~17-46613 (NHL)
: Joz'nz‘ly Aa’mz'm’stered
Debtors. X
AFFIDAVIT OF SERVICE

 

STATE OF NEW YORK }
} ss:
COUNTY OF NEW YORK }

I, Maxwell S. Kinder, being duly sworn, deposes and says:

That I am over eighteen years of age, am employed by Troutman Sanders LLP, and am not
a party to this action.

On the 1St day ofMarch 2018, I served a true and correct copy of (i) the Reply Memorandum
of Law of Capital One Equz`pment Fz'nance Corp. in Further Support of Motz'on to Vacate the
Automatz'c Stay or, in the Alternative, Dz'sml'ss or Convert the Debtors’ Cases or Appoz'nt a Chapter
]] Trusz‘ee [ECF. No. 36] (the “B_ep_ly”); and (ii) the Motion of Capital On‘e Equz'pment Fz'nance
Corp. to Vacate the Automaz‘ic Stay or, in the Alternatz`ve, Dz'smiss or Convert the Debtors ’ Cases
or Appoz'nt a Chapter ]] Trustee and all supporting documents thereto [ECF. Nos. 23- 26] via
overnight courier on the above-captioned debtors addressed as follows:

Bracha Cab Corp., et al.
Attn: Esrna Elberg
1281 Carroll Street
Brooklyn, NY 11213

On the lSt day of March 2018, l also served a true and correct copy of the Reply via

overnight courier as indicated on the attached service lists, W

l

C
Maxwell S. Kinder

Sworn to before me this
2nd day of March 2018

/(Mmib{(/M Lb/WWM/vv\

Notary Pubhc
KENNETH J. HORRMANN
NOTARY PUBL\Cl State of New York
NO. 01 H06131320
Qualitied in Kings Coumy
Certificate Fi\ed in_ New York County
Commisséon Eyr~!r:r nw \ 2}

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Federal Express

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